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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  )
BRIAN RICHARDSON, et al., individually            )   No. 15-cv-06325-WB
and on behalf of all others similarly situated,   )
                                                  )   [PROPOSED] ORDER AND FINAL
                Plaintiff,                        )   JUDGMENT
                                                  )
v.                                                )
                                                  )
VERDE ENERGY USA, INC.,                           )
                                                  )
                Defendant.                        )
                                                  )
                                                  )


       This matter came for hearing on May 19, 2020 (the “Final Approval Hearing”), to

determine whether the terms and conditions of the Parties’ Amended Stipulation and Agreement

of Settlement (“Settlement Agreement”) are fair, reasonable, and adequate, and whether final

approval should be granted. Due and adequate notice having been given to the Settlement Class

in accordance with the terms of the Settlement Agreement and the Court’s Preliminary Approval

Order, and the Court having considered all papers filed and proceedings in this Action and

otherwise being fully informed, and good cause appearing therefore, IT IS HEREBY

ORDERED:

       1.       This Order and Final Judgment (the “Final Approval Order” or “Order”)

incorporates by reference the definitions in the Settlement Agreement, and all capitalized terms

used herein shall have the same meanings as set forth in the Settlement Agreement, unless

otherwise set forth below.

       2.       This Court has jurisdiction over the subject matter of the Action and over all

parties to the Action.
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       3.        The Court preliminarily approved the Settlement Agreement by entering the

Preliminary Approval Order dated January 17, 2020 (Dkt. No. 136) and notice was subsequently

given to all Settlement Class Members pursuant to the terms of the Settlement Agreement and

Preliminary Approval Order.

       4.        The Court finds, for settlement purposes only, that:

                 (a)    the Settlement Class is so numerous that joinder of all members is

impracticable;

                 (b)    there are questions of law or fact common to the Settlement Class;

                 (c)    Plaintiffs’ claims are typical of the claims of the Settlement Class;

                 (d)    Plaintiffs and Plaintiffs’ Counsel will fairly and adequately protect the

interest of the Settlement Class;

                 (e)    the questions of law or fact common to the Settlement Class Members, and

which are relevant for settlement purposes, predominate over the questions affecting only

individual Settlement Class Members; and

                 (f)    certification of the Settlement Class is superior to other available methods

for the fair and efficient adjudication of the controversy.

       5.        In light of the above findings and solely for purposes of the Settlement, the Court

certifies this Action as a class action pursuant to FED. R. CIV. P. 23(a) and 23(b)(3). The

Settlement Class consists of:

                 all individuals in the United States who received a call made by or
                 on behalf of Verde Energy USA, Inc. to the individual’s cellular or
                 landline telephone, through the use of a pre-recorded or artificial
                 voice, from October 16, 2013 to February 14, 2019.




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Excluded from the Settlement Class are (i) Defendant; (ii) any affiliates of Defendant; and (iii)

any employee of Defendant and members of their Immediate Family.

       6.       The Court appoints, solely for purposes of the Settlement, Plaintiffs Brian

Richardson, Michelle Hunt, Jacqueline Bowser, Kris Villiger, and Donna Schley to serve as the

Class Representatives.

       7.       The Court appoints, solely for purposes of the Settlement, Shanon J. Carson and

Lane L. Vines of Berger Montague PC, W. Craft Hughes and Jarrett L. Ellzey of Hughes Ellzey,

LLP, Joshua D. Arisohn of Bursor & Fisher, P.A., and Ari H. Marcus of Marcus & Zelman, LLC

to serve as Class Counsel.

       8.       Pursuant to FED. R. CIV. P. 23, the Court approves the Settlement as set forth in

the Settlement Agreement and finds that:

                (a)      the Settlement is fair, reasonable, and adequate and in the best interest of

the Settlement Class;

                (b)      there was no collusion in connection with the Settlement;

                (c)      the Settlement was the product of informed, arm’s-length negotiations

among competent, able counsel with the assistance of a well-respected mediator; and

                (d)      the record is sufficiently developed and complete to have enabled Plaintiffs

and Defendant to have adequately evaluated and considered their positions, and reached an

informed settlement.

       9.       Accordingly, the Court authorizes and directs implementation and performance of

all terms of the Settlement Agreement and this Order. The Court hereby dismisses the Action and

the claims asserted in the Action with prejudice. The Parties are to bear their own costs except as,

and to the extent provided in, the Settlement Agreement and this Order.


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       10.     Upon the Effective Date, as defined in the Settlement Agreement and by operation

of this Order, Plaintiffs and each Settlement Class Member who did not properly and timely

exclude himself or herself from the Settlement, shall be bound by the terms of the Settlement as

set forth in the Settlement Agreement and this Order, shall be deemed to have released, dismissed

and forever discharged the Released Claims against each and every one of the Released Parties,

with prejudice and on the merits, without costs to any of the Parties, and shall forever be barred

and enjoined from commencing, instituting, prosecuting, or maintaining any of the Released

Claims against any of the Released Parties in any forum of any kind, whether directly or

indirectly, whether on their own behalf or otherwise.

       11.     The Notice given to the Settlement Class was the best notice practicable under the

circumstances, including individual notice to all Settlement Class Members who could be

identified through reasonable effort, and constituted due and sufficient notice to all persons. The

form and method of the Notice fully satisfied the requirements of FED. R. CIV. P. 23 and due

process. Thus, it is hereby determined that all Settlement Class Members are bound by this Final

Approval Order.

       12.     This Court finds that Defendant properly and timely notified the appropriate state

and federal officials of the Settlement under the Class Action Fairness Act of 2005, 28 U.S.C.

§ 1715 (“CAFA”), and that more than ninety (90) days have elapsed since Defendant provided

the required notice, as required by 28 U.S.C. §1715(d).

       13.     The Plan of Allocation submitted by Plaintiffs’ Counsel whereby each Authorized

Claimant will receive an equal share of the Net Settlement Fund is approved.

       14.     Neither the Settlement nor the Settlement Agreement nor any act performed or

document executed pursuant to or in furtherance of the Settlement or the Settlement Agreement:


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               (a)    shall be used, offered or received against any of the Released Parties as

evidence of, or be deemed to be evidence of, any presumption, concession or admission by any of

the Released Parties with respect to the truth of any fact alleged by any of the Parties or the

validity or lack thereof, of any claim or counterclaim, or the existence of any class that has been

or could have been asserted in the Action or in any other litigation against Defendant, or the

deficiency of any defense that has been or could have been asserted in the Action or in any other

litigation against Defendant, or of any liability, negligence, fault or wrongdoing of any of the

Released Parties;

               (b)    shall be used, offered or received against the Released Parties as evidence

of a presumption, concession or admission of any fault, misrepresentation or omission with

respect to any statement or written document approved or made by any of the Released Parties, or

against any of the Released Parties as evidence of any infirmity in the claims asserted in the

Action;

               (c)    shall be used, offered or received against any of the Released Parties as

evidence of a presumption, concession or admission with respect to any liability, negligence,

fault or wrongdoing, or in any way referred to for any other reason as against any of the Parties,

in any arbitration proceeding or other civil, criminal or administrative action or proceeding, other

than such proceedings as may be necessary to effectuate the provisions of the Settlement

Agreement; provided, however, that the Released Parties may refer to the Settlement Agreement

and Settlement to effectuate the liability protection granted them hereunder; and

               (d)    shall be used or construed against any of the Released Parties as an

admission or concession that the consideration to be given hereunder represents the amount

which could be or would have been recovered after trial.



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       15.     Any of the Released Parties may use or file the Settlement Agreement and/or this

Final Approval Order in any other action that may be brought against them in order to support a

defense, claim or counterclaim, including, but not limited to, based on principles of res judicata,

collateral estoppel, release, good faith settlement, judgment bar or reduction, or any theory of

claim preclusion or issue preclusion or similar defense or counterclaim.

       16.     Without affecting the finality of this Final Approval Order, in any way, this Court

hereby retains continuing jurisdiction over the administration, consummation and enforcement of

the Settlement Agreement.

       17.     In the event that the Settlement does not become Final in accordance with the

terms of the Settlement Agreement and/or if the Effective Date does not occur, then all

proceedings in connection with the Settlement shall be without prejudice to the status quo ante

rights of the Parties to the Settlement Agreement. In such instance, the Settlement and the

Settlement Agreement shall be void ab initio and treated as if they never occurred, except as

described in the Settlement Agreement.

       18.     There is no just reason for delay in the entry of this Final Approval Order and

Entry of Judgment and immediate entry by the Clerk of the Court is expressly directed.

IT IS SO ORDERED:




         5/19/2020
DATED: _____________________                          /s/Wendy Beetlestone, J.
                                                     ____________________________________
                                                     HON. WENDY BEETLESTONE
                                                     UNITED STATES DISTRICT JUDGE




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